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January 8, 2024

ViaECF

Honorable Paul A. Crotty
United States District Judge
United States District Court
  for the Southern District of New York
500 Pearl Street, Chambers 1350
New York, NY 10007


Re:    Palmco Administration, LLC v. Flower Payment, Inc., Case No. 1 :23-cv-07409-PAC

Dear Judge Crotty:

       I am counsel for plaintiff Palmco Administration, LLC ("Palmco") in the above

litigation, and write in response to the Court's direction to submit a status letter regarding proof

of service by January I 0, 2004.

       To the best of Palmco's knowledge, the defendant Flower Payment, Inc. is a company

organized under the laws of Japan, with its principal place of business in Tokyo, Japan.

Therefore, Palmco is pursuing service of process on defendant under the Convention on the

Service Abroad of Judicial and Extrajudicial Documents in Civil or Commercial Matters

("Hague Service Convention"), pursuant to Fed. R. Civ. P. 4(h)(2) and Fed. R. Civ. P. 4(£)(1).

       Palmco's counsel first reached out to the defendant's Japanese and U.S. counsel to

inquire whether defendant would be willing to waive service under the Hague Service

Convention. When that avenue proved unsuccessful, Palmco diligently procured the services


            ATLANTA AUSTIN BANGKOK BEIJING BOSTON BRUSSELS CHARLOTTE DALLAS DUBAI HOUSTON
         LONDON LOS ANGELES MIAMI NEW YOHK RICHMOND SAN FRANCISCO TOKYO TYSONS WASHINGTON, DC
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     of a company specialized in international service of process, had extensive translations into

     Japanese made, and had the service package prepared and shipped to the proper Japanese

     authorities. That package was shipped on December 29, 2023 and delivered in Japan on January

     4, 2024. See Exhibit I (courier's proof of delive1y). We have been advised that the service of

     process in Japan under the Hague Service Convention may take approximately 6 months.1

             Palmco will promptly file proof of service once service on defendant is accomplished.

             Thank you for the Court's consideration.


                                                            Respectfully Submitted,
1/10/2024                                                   PALM CO ADMINISTRATION, LLC
The Clerk is directed to terminate the motion at
ECF#4. The Court will address the Petition                 By its attorney,
once the Petitioner has effectuated service and
file proof of service. SO ORDERED.                         Isl Torsten M. Kracht
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             1 While that time frame exceeds the 90-day period for service of process set forth in
     Fed. R. Civ. P. 4(m), that rnle, by its terms, does not apply to service in a foreign country
     under Rules 4(f) and 4(h)(2).
